    Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 1 of 18




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

                                            )
US DOMINION, INC., DOMINION VOTING
                                            )
SYSTEMS, INC., and DOMINION VOTING
                                            )
SYSTEMS CORPORATION,                        )
                                                   No. 1 :21-cv-00040 (CJN)
  Plaintiffs,                               )
                                            )
    V.                                      )
                                            )
SIDNEY POWELL, SIDNEY POWELL,               )
P.C., and DEFENDING THE REPUBLIC, INC.,     )
  Defendants.                               )


     POWELL DEFENDANTS' MEMORANDUM OF LAW IN SUPPORT OF
       MOTION FOR ORDER ADOPTING DISCOVERY PROTOCOL
             JOINTLY PROPOSED BY ALL DEFENDANTS




                                      KENNEDYS CMK LLP

                                      Joshua A. Mooney DC Bar No. 471866
                                       1600 Market Street, Suite 1410
                                      Philadelphia, PA 19103
                                      Tel: 267-479-6700
                                      Joshua.Mooney@kennedyslaw.com

                                      Marc Casarino, pro hac vice
                                      919 N. Market Street, Suite 1550
                                      Wilmington, DE 19801
                                      Tel: 302-308-6647
                                      Email: mare. casarino@kennedyslaw.com

                                      Michael J. Tricarico, pro hac vice
                                      570 Lexington Avenue, 8th Floor
                                      New York, New York 10022
                                      Tel: (646) 625-3952
                                      Email: Michael.tricarico@kennedyslaw.com

                                      Attorneysfor Defendant Sidney Powell and
                                      Sidney Powell, P. C.
           Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 2 of 18




                                    TABLE OF CONTENTS

SUMMARY                                                                                      I

BACKGROUND                                                                                  3

GOVERNING STANDARDS                                                                         6

ARGUMENT                                                                                    7

 I.        DOMINION'S PRODUCTION OF "HITS" VIOLATES RULES 26 AND 34                         7

      A. Courts Prohibit Document Dumps                                                     7

      B.    Rules 26 and 34 Require Documents to be Relevant, Responsive, and Produced in an
            Organized Manner.                                                                8

 II. HIT REPORTS OR MICROMANAGED INTERVIEWS ARE UNNECESSARY                                 12

      A.    Hit Reports Further Manifest Dominion's Flawed Discovery Process                12

      B.    Dominion's Proscribed Custodian Interviews are Unnecessary and Burdensome       12

CONCLUSION                                                                                  13
       Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 3 of 18




                                 TABLE OF AUTHORITIES


                                                                           Pages

Barnes v. D. C.,
  289 FR.D. I (D.D.C. 2012)                                                    9

Bombardier Recreational Prod., Inc. v. Arctic Cat, Inc.,
  2014 WL 10714011 (D. Minn. Dec. 5, 2014)                                 9, 12

Breunlin v. Vill. ofOak Park,
  2008 WL 2787473 (N.D. Ill. July 17, 2008)                                   11

Burnett v. United States,
  2016 WL 3392263 (C.D. Cal. June 14, 2016)                                    9

City ofColton v. Amer. Promotional Events., Inc.,
  277 F.R.D. 578 (C.D. Cal. 2011)                                             10

DL V. D.C.,
 274 F.R.D. 320 (D.D.C. 2011)                                                  6

DR Distributors, LLC v. 21 Century Smoking, Inc.,
 513 F. Supp. 3d 839 (N.D. Ill. 2021)                                         12

Excellent Home Care Servs., LLC w. FGA, Inc.,
  2017 WL 9732082 (E.D.N.Y. June 5, 2017)                                     10

Franco-Gonzalez v. Holder,
  2013 WL 8116823 (C.D. Cal. May 3, 2013)                                     10

Graske v. Auto-Owners Ins. Co.,
  647 F. Supp. 2d 1105 (D. Neb. 2009)                                          7

Haddad v. Sears Roebuck & Co.,
 2005 WL 8154529 (E.D. Mich. Feb. 7, 2005)                                     10

Haughton v. D. C.,
 315 F.R.D. 424 (D.D.C. 2014)                                              10, 11

Haughton v. District ofColumbia,
  161 F. Supp. 3d 100 (D.D.C. 2014)                                         7, 11

HIRECounsel D.C., LLC v. Thuemmler,
  2008 WL 11504116 (D.D.C. Jan. 29, 2008)                                       7

Jewish War Veterans ofthe U.S. ofAm., Inc. v. Gates,
  506 F. Supp. 2d 30 (D.D.C. 2007)                                              9
                                                11
        Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 4 of 18




Kline v. Berry,
  287 F.R.D. 75 (D.D.C. 2012)                                                   7

Lexington Luminance LLC v. Feit Elec. Co., Inc.,
  2020 WL 10052403 (C.D. Cal. July 8, 2020)                                    11

Minter v. Wells Fargo Bank, NA.,
  286 F.R.D. 273 (D. Md. 2012)                                                 11

Perkins v. City ofModesto,
  2020 WL 1333109 (E.D. Cal. Mar. 23, 2020)                                     10

S.E.C. v. Collins & Aikman Corp.,
  256 F.R.D. 403 (S.D.N.Y. Jan. 13, 2009)                                      10

Stooksbury v. Ross,
  528 Fed. App'x 547 (6th Cir. 2013)                                          7, 8

Swan Glob. Imvs., LLC v. Young,
  2020 WL 5204293 (D. Colo. June 5, 2020), report and rec. adopted,
  2020 WL 9432880 (D. Colo. Dec. 10, 2020)                                       8

Westfall v. Ass'n of Universities for Rsch. in Astronomy,
  2023 WL 1782120 (D. Ariz. Feb. 6, 2023)                                    9, 11

Wonderland Switzerland AG v. Britax Child Safety, Inc.,
  2020 WL 6365382 (D.S.C. Oct. 29, 2020)                                         7

Youngevity Int'l Corp. v. Smith,
  2017 WL 6541106 (S.D. Cal. Dec. 21, 2017)                                     12


Rules

Fed. R. Civ. Pro. 26                                                        passim

Fed. R. Civ. Pro. 34                                                        passim




                                                111
       Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 5 of 18




                                          SUMMARY

       Defendants Sidney Powell and Sidney Powell, PC (collectively, Powell), move the Court

to adopt Defendants' proposed Discovery Protocol. Ex. A. It alone tracks the Federal Rules of

Civil Procedure.

       While the parties reached agreement on some issues, they disagreed where Dominion's

"Stipulation" strips away bedrock principles and guardrails under Fed. R. Civ Pro. 26 and 34 to

facilitate data dumps, and needles in haystacks. As described in its own emails, Dominion seeks

to rewrite the rules of discovery whereby search queries are run and any non-privileged "hit" must

be produced regardless of the document's relevancy to the lawsuit or responsiveness to a request.

       "Dominion agreed to produce responsive documents if they are located (i.e.,
       "hit") using search terms we gave you."  -- 7/18/2023 email (Exhibit B).

       "[A}s stated in our responses and confirmed in past conferences, Dominion is
       not affirmatively searching for documents responsive to those requests.
       Dominion will not specifically searchfor responsive documents."

        " ... We did not, nor do we intend to, limit search terms only to allegations of
       the complaint. Nor are we engaging in a second-level manual responsiveness
       review. If the document hits on search terms and is non-privileged, we are
       producing it."       -- both 7/10/2023 email (Exhibit B).

The results have been an unmitigated data dump. Dominion has produced over 8,400,000 pages

of documents. Out of the first 678,195 documents reviewed to date by Powell, only 3.5% are

relevant and responsive under Rule 26(b). Nor does the production comply with Rule 34.

       The sheer absurdity of Dominion's productions so far, and which it seeks to continue, is

illustrated by its response to Powell's basic request for "any documents that mention or refer to

the Powell Defendants." Rather than conduct a search pursuant to Rule 26 for relevant documents

that are responsive to the request, Dominion advised that it would "not specifically search for

responsive documents," and instead dumped nearly 1 million pages on Powell having nothing to


                                                1
       Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 6 of 18




do with Powell or the lawsuit. The documents were produced because they "hit" the surname

Powell," including voter rolls with voters named "Powell," election ballots for candidates named

Powell," and polling stations with the surname "Powell," like "Powell Middle School."

       This is just one example.

       Dominion claims that Powell's demands for documents that are both relevant and

responsive is unjust and burdensome. The claim is misleading and disingenuous. First, it ignores

the express language of Rules 26 and 34, which limit discovery to "relevant" infonnation and

require the production of documents in an organized manner. Second, Dominion's proposed

"Stipulation" shifts the burden of locating relevant and responsive discovery to Powell (and other

Defendants), forcing them to wade through the very marsh of documents Dominion's process

creates and which Dominion refuses to sift. Third, as Dominion concedes it has conducted a

privilege review, Dominion can determine ifdocuments are relevant and responsive during that

same review. This third point bears repeating- as Dominion already is reviewing documents for

privilege, its refusal to review for relevancy and responsiveness reveals that its failure to adhere to

Rule 26 is not the result of burden, but the product of deliberate strategy. Dominion's refusal to

produce documents under Rule 34 reflects the same strategy by enabling Dominion to build a

mountain of irrelevant material that each Defendants must scale to locate the relatively few

documents that are relevant to the particular litigation and responsive to the particular request.

        Dominion's demands for "hit" counts and micromanaged custodian interviews also should

be rejected. The "hit" reports have no basis in the Federal Rules of Civil Procedure. Nor are they

informative, as they are an extension of Dominion's misguided view that a "hit" means that a

document is relevant and responsive. Provisions for custodian reports with dictated questions are

unneeded. The Federal Rules of Civil Procedure and caselaw establish requirements. Dominion



                                                   2
         Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 7 of 18




need not micromanage the law. Dominion's position is further jarring when it insists (absurdly)

that third parties over whom Powell has no control be labeled as Powell custodians.

         Powell advocates nothing that is complicated or controversial. The Federal Rules of Civil

Procedure should govern. The patties should be bound by the same requirements that have

governed litigants for the last SO-plus years. Powell joins the motion filed by Herring Defendants,

and respectfully requests the Court to adopt Defendants' proposed Discovery Protocol.


                                          BACKGROUND

         Dominion has sued Powell for defamation from several statements made by Ms. Powell.

Defamation is not a complicated tort. Nor should the discovery of this lawsuit be complicated.

Defendants' proposed Discovery Protocol adheres to this principle.1

         Fed. R. Civ. Pro. 26(b) states in part that a patty may "obtain discovery regarding any

nonprivileged matter that is relevant to any party's claim or defense and proportional to the needs

ofthe case[.]" It contemplates a two-part filter: (i) identification of documents that are relevant to

any party's claim or defense and (ii) within that sub-universe of documents, those that are

responsive to the request itself. Fed. R. Civ. Pro. 34(b) states that   "[ u   ]nless otherwise stipulated or

ordered by the court," a patty "must produce documents as they are kept in the usual course of

business or must organize and label them to correspond to the categories in the request."

         The Discovery Protocol adheres to these bedrock principles. For instance, Section 6 of the

Protocol states that "[a] producing party is obligated to produce only those documents or ESI that

are responsive and relevant to a pending discovery request in accordance with FRCP 26 and

34." Further, while the use of search queries can be a tool agreed to by the partis to assist with the



1   Exhibit A is a true and correct copy of Defendants' proposed Discovery Protocol.


                                                   3
       Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 8 of 18




conduct of discovery, search queries are "not a substitutefor such responsiveness and relevancy

review, or any other requirement in the Federal Rules of Civil Procedure."

       Section 8(a) of the Protocol states that "fa} party's [ES/ and document] production must

comply with FRCP 34(b)(2)(E)(i), meaning a producing party must produce responsive

documents and ESI as they are kept in the usual course of business or must organize and label

them to correspond to the categories in the requesting party's pending discovery requests." Section

8(c) states that any supplemental discovery responses are governed by Fed. R. Civ. Pro. 26(e).

       Dominion objected to these fundamental protocols, and its self-titled "Stipulation" strips

them away. In Dominion's world, if a document "hits" on a search query, it is "responsive" and

Dominion may produce it, no matter how absurd the results. As a result, document dumps have

grinded the lawsuit down and incurred significant costs upon Powell (and other Defendants). Here

is one example of the absurdity of Dominion's proposed discovery.

        In response to the very basic request for "documents that mention or refer to the Powell

Defendants," Dominion dumped nearly 1 million pages on Powell having nothing to do with

Powell or the lawsuit. See Ex. D.3 When trying to fully ascertain Dominion's position to raise the

issue with the Court, Dominion's counsel advised in part:

                Thank you for your email. I believe you are referring to Request
                Nos. 6, 7,10, 11, 13, 15, 32, and 34 from Powell's Second Requests
                for Production. With that understanding, I can confirm that
                Dominion is not withholding documents responsive to those
                requests. Nonetheless, as stated in our responses and confirmed
                in past conferences, Dominion is not affirmatively searching for
                documents responsive to those requests: "Dominion will not
                specifically search for responsive documents. However, to the


2 To be clear, it is not a "Stipulation." Powell did not agree to it.


3 Exhibit Dis a true and correct list of "Powell" documents produced by Dominion to date.




                                                   4
       Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 9 of 18




                extent Dominion locates such documents in response to search tenns
                properly focused on uncovering relevant information, Dominion
                will not withhold the documents from production." Dominion
                Responses to Powell 2" RFPs, 6, 7, 10, 11, 13, 15, 32, 34.
                Turning to your second paragraph, your understanding is not
                consistent with Dominion's document collection and production
                process. Dominion is producing documents responsive to your
                requests without the limitation you described. Specifically,
                Dominion is using search terms broad enough to cover the vast
                majority of the documents that would be responsive to the requests
                you served. We did not, nor do we intend to, limit search terms
                only to allegations of the complaint. Nor are we engaging in a
                second-level manual responsiveness review. Ifthe document hits
                on search terms and is non-privileged, we are producing it.

Exhibit B (bold/italics added).4 No agreement was reached by the parties. Indeed, although the

email conceded - perhaps inadvertently - that Dominion was in fact reviewing documents (for

privilege) and that relevancy is an essential component of discovery, Dominion remained steadfast

in its position of discovery by hits.

        When Powell sought further clarity regarding the incredulous position that "Dominion is

not affirmatively searching for documents responsive [to Powell's discovery requests]," Dominion

dug in. Perhaps sensing the absurdity of the position, Dominion further contended that there was

"no issue" for the Court, citing its self-serving and self-styled "Stipulation":

                ... We don't understand what "issue" you think is ripe for the
                Court's review. As far as we are concerned, there isn't one.
                For the requests being discussed (from Powell's Second requests),
                Dominion agreed to produce responsive documents if they are
                located (i.e., "hit'') using the search terms we gave you. We did not
                agree to add search terms beyond what we're running that would be
                designed specifically to capture those documents. We said, though,


4 Exhibit B is a true and correct copy of the email chain with the July 18, 2023 email of Katie

Sammons and the July 10, 2023 email of Elizabeth Hadaway, counsel for Dominion.



                                                  5
       Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 10 of 18




                that if you disagree that our terms are adequate to locate those
                documents, you should propose additional tenns. You refused. After
                much back and forth, though, we then reached this agreement:
                Dominion would produce documents that hit on the search terms we
                told you we were running and, ifyou conclude that you haven't
                received documents you asked for, you tell us and we'll discuss
                with you whether additional terms should be run. Given all of this,
                can you please explain where you see an issue?
                Also, your sentence about RFP 9 is unintelligible. We have not
                refused to produce documents responsive to this request. See
                Dominion's Proposed Stipulation. So what are you saying?
                In any case, we don't agree that there's anything to raise with the
                Court.
Exhibit B (bold/italics added).

       Dominion's counsel then followed up, representing that "[a]ll the documents Dominion

has produced in Vols. 001-009 are responsive to Powell's Requests for Production"

(approximately 678,195 documents). Ex. C.5 That production, however, includes hundreds of

thousands of pages of voter rolls with voters named "Powell; election ballots with candidates

named "Powell"; and polling stations with the surname "Powell," like "Powell Middle School."

Ex. C; Ex. D.

       This is just one example. This is the discovery Dominion advocates.


                                  GOVERNING STANDARDS

       Rule 26 governs the scope of discovery. DL v. D.C., 274 F.R.D. 320, 324 (D.D.C. 2011).

"Rule 34 governs document production and provides that a party may request that any other party

produce documents within the scope of Rule 26(b)." Id.




5 Exhibit C is a true and correct copy of the July 25, 2023 email of Elizabeth Hadaway.




                                                 6
           Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 11 of 18




                                               ARGUMENT

I.          DOMINION'S PRODUCTION OF "HITS" VIOLATES RULES 26 AND 34

            "The tenn 'document dump' is often used to refer to the production of voluminous and

     mostly unresponsive documents without identification of specific pages or portions of documents

     which are responsive to the discovery requests." Wonderland Switzerland AG v. Britax Child

     Safety, Inc., 2020 WL 6365382, at *5 n.l (D.S.C. Oct. 29, 2020) (citing Stooksbury v. Ross, 528

     Fed. App'x 547, 550 (6th Cir. 2013)). That is quintessentially what Dominion already has done

     here. Under Dominion's "Stipulation," Dominion has and will continue to bury Powell with

     impermissible document dumps.

            A. Courts Prohibit Document Dumps.

            As a general matter, this Court and other federal districts have long prohibited document

     dumps, recognizing them as a means to obscure and weaponize discovery. E.g., Haughton v.

     District ofColumbia, 161 F. Supp. 3d 100, 102-03 (D.D.C. 2014) ("even if the burden were the

     same ... the responding party still must 'specify [] the records that must be reviewed, in sufficient

     detail to enable the interrogating party to locate and identify them as readily as the responding

     party could"') (Haughton JI); Kline v. Berry, 287 F.R.D. 75, 80 (D.D.C. 2012) (requiring plaintiff

     to specify documents within EEOC investigative report rather than refer to entire report);

     HIRECounsel D.C., LLC v. Thuemmler, 2008 WL 11504116, at 4 (DD.C. Jan. 29, 2008)

     (producing 56,000 pages without identifying responsive documents or road map to responsive

     documents was "classic" document dump); Graske v. Auto-Owners Ins. Co., 647 F. Supp. 2d 1105,

     1108-1109 (D. Neb. 2009) ("It is not sufficient for a responding party to simply direct the

     interrogating party to a mass of business records.").




                                                       7
      Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 12 of 18




       Under the guardrails of the Federal Rules of Civil Procedure, especially Rules 26 and 34,

a party must contain its production to documents that are both relevant and proportional to the

litigation matter and responsive to the request, and in an organized manner th.rough which a party

may locate those documents.6 Swan Glob. Imvs.. LLC v. Young, 2020 WL 5204293, at 7(D. Colo.

June 5, 2020), report and rec. adopted, 2020 WL 9432880 (D. Colo. Dec. 10, 2020) ("And Swan

Global's 'document dump' of thousands of unreviewed pages of material, without any

categorization or indication as to how the documents relate to Mr. Young's requests for production

or were relevant to the case, was inexcusable.").7

       Dominion's "Stipulation" was designed to create document dumps. For this reason alone,

the search query and "hit" processes advocated by Dominion should be rejected in favor of

Defendants' proposed Discovery Protocol.

       B. Rules 26 and 34 Require Documents to be Relevant, Responsive, and Produced in
          an Organized Manner.

       Dominion's contention that document "relevancy" is a secondary "responsive" review

neither warranted nor mandated under the Federal Rules of Civil Procedure is a complete fallacy.

The claim is further undermined by Dominion's own words. Its counsel admitted that Dominion

is already reviewing the documents (but apparently only for privilege)- and therefore, may




  Fed. R. Civ. Pro. 26(b)1) identifies six factors for determining appropriate proportionality: "(1)
the importance of the issues at stake in this action; (2) the amount in controversy; (3) the parties'
relative access to relevant information; (4) the parties' resources; (5) the importance of the
discovery in resolving the issues; and (6) whether the burden or expense of the proposed discovery
outweighs its likely benefit."

7 See also Stooksbury v. Ross, 528 Fed. App'x 547,553 (6th Cir. 2013) (affirming default judgment

sanction in part for party's 40,000-page "document dump ofmostly unresponsive information").



                                                  8
      Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 13 of 18




conduct a relevancy review at the same time. Ex. B. In the same email, counsel also admitted that

document relevancy is a necessary component of discovery, noting that search queries should be

"properly focused on uncovering relevant information." Id. (emphasis added).

       To prevent document dumps, Fed. R. Civ. Pro. 26(b) requires discovery responses,

including document productions, to be both relevant to the lawsuit in question and responsive to

the discovery requests in question. See Fed. R. Civ. Pro. 26(b) (discovery may be had "regarding

any matter, not privileged, which is relevant to the subject matter involved in the pending action

... if the information sought appears reasonably calculated to the discovery of admissible

evidence"); Jewish War Veterans ofthe US. ofAm., Inc. v. Gates, 506 F. Supp. 2d 30, 50 (D.D.C.

2007) (holding documents both relevant under discovery standards and responsive to the requests

at hand); Barnes v. D. C., 289 F.R.D. 1, 25 (D.D.C. 2012) (holding documents sought were "clearly

relevant under Rule 26(b)(1) and responsive to plaintiffs' prior document requests") (emphasis

added); Bombardier Recreational Prod., Inc. v. Arctic Cat, Inc., 2014 WL 10714011, at *14 (D.

Minn. Dec. 5, 2014) ("the law encourages relevancy screening in an effort to avoid large, largely

nonresponsive document dumps meant to obscure and cloak relevant documents").

       A party may serve document requests within the scope of Rule 26(b), and the responding

party "has a duty to undertake a diligent search and reasonable inquiry in order to adequately

respond to requests for production." Westfall v. Ass'n ofUniversitiesfor Rsch. in Astronomy, 2023

WL I 782120, at 2 (D. Ariz. Feb. 6, 2023) (citing Burnett v. United States, 2016 WL 3392263, at

6(C.D. Cal. June 14, 2016)).

       "A party producing documents in response to a request for production must produce those

records as they are kept in the nonnal course of business or must "organize and label them to

correspond to the categories in the request." Id; Fed. R. Civ. Pro. 34(b)(2)(E). "Rule 34 is generally



                                                  9
      Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 14 of 18




designed to facilitate discovery of relevant infonnation by preventing attempts to hide a needle in

a haystack by mingling responsive documents with large numbers of nonresponsive documents."

Franco-Gonzalez v. Holder, 2013 WL 8116823, at 4(C.D. Cal. May 3, 2013); S.E.C. v. Collins

& Aikman Corp., 256 F.R.D. 403, 409-10 (S.D.N.Y. Jan. 13, 2009) ("In most cases, documents

produced pursuant to Rule 34 will be organized by subject matter or category. The provision

prohibits 'simply dumping large quantities of unrequested materials onto the discovering party

along with the items actually sought.").

       "Interpreting the Federal Rules to require ESI productions to be organized in such a way

as to facilitate, not hinder, the usefulness of the information produced also makes common sense."

City of Colton v. Amer. Promotional Events., Inc., 277 F.R.D. 578, 584 (C.D. Cal. 2011). "Rule

34(b)(2)(E)(i) is meant to prevent a party from obscuring the significance of documents by giving

some structure to the production." Id.; Perkins v. City ofModesto, 2020 WL 1333109, at8 (E.D.

Cal. Mar. 23, 2020) (failure to produce documents "as kept in the usual course of business" or

organized and labelled to correspond to the categories ofthe request was impennissible document

dump); Excellent Home Care Servs., LLC v. FGA, Inc., 2017 WL 9732082, at 4 (E.D.N.Y. June

5, 2017) (failing to indicate which documents were responsive to which requests violated Rule

34); Cf Haughton v. D.C., 315 F.R.D. 424,427 (D.D.C.) (Fed. R. Civ. Pro. 33(d) "not intended to

permit parties to respond by 'directing the interrogating party to a mass of business records or by




8 See also Haddad v. Sears Roebuck & Co., 2005 WL 8154529, at 5 (E.D. Mich. Feb. 7, 2005)

("Defendant must specifically identify and/or mark those documents responsive to RFP No. 2. The
Court does not look kindly upon Defendant's document dump.").



                                                10
      Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 15 of 18




offering to make all of their records available."') (Haughton D), objections overruled, 161 F. Supp.

3d I 00 (D.D.C. 2014).9

       Further, there should be no mistake that a patty may not obfuscate a production under Fed.

R. Civ. Pro. 34 by producing additional, non-responsive documents, thereby creating "unnecessary

work" for the opposing party, "simply because they keep these documents in the same place as

part of their usual course ofbusiness." Haughton I, 315FR.D. at 428 (D.D.C.). "Where a party or

the court is unable to 'discern exactly which documents go to which requests because [a party] has

not organized and labeled his production,' the problem must be remedied." Westfall, 2023 WL

1782120at*2.

       Dominion's "Stipulation" eschews these requirements. Its past productions and

representations prove it. Dominion opts to produce "volumes" of document based on search "hits"

and nothing else. It then produces the resulting hits in a manner that relevant and responsive

documents are disorganized and co-mingled with vast amounts of documents that have nothing to

do with Powell or the litigation. These are the very results Rules 26 and 34 seek to avoid. While

Powell recognizes that search terms may be helpful, as noted in the Discovery Protocol, they are

"a means by which the universe of documents needing responsiveness and relevancy review can

be reduced, but it is not a substitute for such responsiveness and relevancy review, or any other

requirement in the Federal Rules of Civil Procedure." Ex. A § 6. "Search tenns do not, however,

replace a party's requests for production" and it is inappropriate to "conflate[] a hit on the parties'



9 Lexington Luminance LLC v. Feit Elec. Co., Inc., 2020 WL 10052403, at 4 (C.D. Cal. July 8,

2020) (production of disorganized documents violated Rule 34(b)(2)(E)); Minter v. Wells Fargo
Bank, N.A., 286 F.R.D. 273, 278-79 (D. Md. 2012) ("A document dump ofthousands ofdocuments
will not suffice."); Breunlin v. Vill. ofOak Park, 2008 WL 2787473, at *4 (N.D. Ill. July 17, 2008)
("Rule 34(b) is an anti-sabotage provision: a party may not dump its files into a mail cart, stir well,
then wheel it to opposing counsel.").

                                                  11
             Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 16 of 18




  proposed search tenns with responsiveness. The two are not synonymous." Youngevity Int'l Corp.

      v. Smith, 2017 WL 6541106, at 10 (S.D. Cal. Dec. 21, 2017). For these reasons too, Defendants'

      proposed Discovery Protocol should be accepted.

II.          HIT REPORTS OR MICROMANAGED INTERVIEWS ARE UNNECESSARY

             The Federal Rules of Civil Procedure do not call for hit reports. Nor do Dominion's

      "custodian interview" proposals fall within the rules. Both are broad overreaches.

             A. Hit Reports Further Manifest Dominion's Flawed Discovery Process.

             Dominion seeks "hit" reports-i.e., identification of documents (or numbers ofdocuments)

      that are neither relevant to the litigation nor responsive to a document request. By their description,

      the hit reports do not have information relevant to the litigation or responsive to the discovery

      propounded. By definition, they fall outside the scope of Fed. R. Civ. Pro. 26(b) as non-relevant

      and non-responsive. Cf Bombardier Recreational Prod., Inc. v. Arctic Cat, Inc., 2014 WL

      10714011, at *14 (D. Minn. Dec. 5, 2014) ("Arctic Cat bears no legal obligation to produce non-

      responsive, irrelevant, outside-of-the-scope-of-Rule-26 ESI"). Dominion has no right to them.

             B. Dominion's Proscribed Custodian Interviews are Unnecessary and Burdensome.

              Dominion's proscribed custodian interviews are unnecessary. Custodian interviews

      already are governed and required by the Federal Rules, and have been deemed "a modem

      outgrowth of a client interview." DR Distributors, LLC v. 21 Century Smoking, Inc., 513 F. Supp.

      3d 839, 963-64 (N.D. Ill. 2021) (With regard to ESI, reasonable inquiry necessitates a proper

      custodian interview."). The purpose of the interviews is to ensure an "understanding of the client's

      information systems [that] allows counsel to create a systematic process and plan for responding

      to discovery requests." Id. There is no need to have this process micromanaged by Dominion's

      "Stipulation."


                                                        12
      Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 17 of 18




       Dominion's insistence that Defendant Sidney Powell, P .C., include as custodians four third

parties whom the law firm does not employ and has no control over further illustrates Dominion's

efforts to weaponize discovery." Ex. A. Under the "Stipulation," the law firm would be required

to conduct mandatory interviews and be responsible for their preservation ofdocuments. There are

no requirements that even come close to this under the Federal Rules of Civil Procedure. Powell

asks the Court to reject these proposed custodians. Ms. Powell, the sole principal of the film,

should be the law film's custodian.

       Defendants' proposed Discovery Protocol stay within the lanes of the Federal Rules of

Civil Procedure. For these reasons too, their proposed Discovery Protocol should be accepted.


                                        CONCLUSION

       Powell joins the motion filed by Herring Defendants. For the reasons therein and discussed

herein, Powell respectfully requests that the Court adopt Defendants' proposed Discovery

Protocol.




O They are Julia Haller, Brandan Johnson, Emily Newman, and Tricia Dale. Ex. 3 of Ex. A.



                                               13
      Case 1:21-cv-00040-CJN Document 106-1 Filed 10/20/23 Page 18 of 18




Dated: October 20, 2023               KENNEDYS CMK LLP

                                       By:/s Joshua A. Moonev
                                       Joshua A. Mooney DC Bar No. 471866
                                        1600 Market Street, Suite 1410
                                       Philadelphia, PA 19103
                                       Tel: 267-479-6700
                                       Joshua.Mooney@kennedyslaw.com

                                       Marc Casarino, pro hac vice
                                       919 N. Market Street, Suite 1550
                                       Wilmington, DE 19801
                                       Tel: 302-308-6647
                                       Email: marc.casarino@kennedyslaw.com

                                       Michael J. Tricarico, pro hac vice
                                       570 Lexington Avenue, 8th Floor
                                       New York, New York 10022
                                       Tel: (646) 625-3952
                                       Email: Michael.tricarico@kennedyslaw.com

                                       Attorneysfor Defendant Sidney Powell and
                                       Sidney Powell, PC




                                      14
